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  13                               UNITED STATES DISTRICT COURT
  14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
  15 KAREN WILLIAMS, as                                             CASE NO.: 2:20-CV-06889-RGK-SK
     PERSONAL REPRESENTATIVE
  16                                                                PROPOSED ORDER GRANTING
     OF THE ESTATE OF DONALD
                                                                    JOINT STIPULATION PURSUANT
  17 SATTLER,                                                       TO FED. R. CIV. P. 41(a)(1)(A)(ii)
                                                                    TO DISMISS COMPLAINT
  18
                        Plaintiff,
  19                                                                Judge: Hon. R. Gary Klausner
       v.                                                           Magistrate: Hon. Steve Kim
  20

  21 PRINCESS CRUISE LINES, LTD.

  22
                        Defendant.
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                                                     PROPOSED ORDER
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               Based on the foregoing Joint Stipulation and good cause appearing therefore,
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       this Court Orders as follows:
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               1. The Complaint shall be dismissed in accordance with Fed. R. Civ. P.
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       Proposed Order Granting Joint Stipulation of Dismissal
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   1                41(a)(1)(A)(ii) with prejudice and without costs to any party.
   2           2. The Court shall retain jurisdiction to enforce the settlement.
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   4           IT IS SO ORDERED.
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   6           Dated: _____________________,
                       October 20            2021
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                                                  Honorable R. Gary Klausner
                                                  United State District Court Judge
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       Proposed Order Granting Joint Stipulation of Dismissal
